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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            Chief Judge Philip A. Brimmer

Criminal Case No. 19-cr-00507-PAB

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. JOSHUA DAVID GESS,

     Defendant.
_____________________________________________________________________

                                ORDER
_____________________________________________________________________

       This matter is before the Court on defendant’s Motion for Bill of Particulars

[Docket No. 17], Motion to Severe [sic] and Try Offenses Separate [Docket No. 28],

Motion to Dismiss for Violations of 18 USCS § 3161(b), 18 USCS § 3162(a)(1) [Docket

No. 42], Motion for Disclosure of Government’s Intended Witnesses [Docket No. 46],

and Motion for Immediate Release from Custody [Docket No. 63].

I.   MOTION FOR A BILL OF PARTICULARS

       Defendant moves for the government to file a bill of particulars. Docket No. 17.

Defendant claims he needs to know “exactly what the [government] is attributing to

defendant” and argues that, without a bill of particulars, he will be “unable to properly

prepare for trial and/or consider a meaningful strategy whether to proceed to trial.” Id.

In response, the government states that the indictment “fairly informs the defendant of

the nature of the charges against him.” Docket No. 70 at 3. The government also

represents that it has provided the defendant with “all of the discovery in this case,”
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which it describes in detail. Id. at 3-4.

       A bill of particulars is not a substitute for discovery. See United States v. Dunn,

841 F.2d 1026, 1029 (10th Cir. 1988) (“A bill of particulars . . . is not a discovery device

but may serve to amplify the indictment by providing additional information.” (internal

quotation marks and bracket omitted)); see also United States v. Ivy, 83 F.3d 1266,

1281 (10th Cir. 1996) (“A bill of particulars is not necessary if the indictment sets forth

the elements of the offense charged and sufficiently apprised the defendant of the

charges to enable him to prepare for trial. The defendant is not entitled to notice of all

the evidence the government intends to produce, but only the theory of the

government’s case.” (internal citations, quotation marks, and bracket omitted)). Given

the government’s representation that the defendant “has all of the discovery in this

case,” see Docket No. 70 at 4, the Court finds that the government has satisfied its

obligation to “inform the defendant of the charge against him with sufficient precision to

allow him to prepare his defense.” Ivy, 83 F.3d at 1281 (internal quotation marks

omitted); see also id. at 1282 (affirming denial of defendants’ request for a bill of

particulars where the government provided the defendants with “complete discovery

containing sufficient information to allow them to prepare their defense”).

       In summary, the Court has considered the three Dunn factors, see Dunn, 841

F.2d at 1029 (enumerating three purposes served by a bill of particulars: “to inform the

defendant of the charge against him with sufficient precision to allow him to prepare his

defense, to minimize surprise at trial, and to enable him to plead double jeopardy in the

event of a later prosecution for the same offense”), and has determined that the



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discovery already produced by the government, together with the information provided

in the government’s response, satisfies the purposes served by a bill of particulars.

Thus, the Court will deny defendant’s motion.

II.   MOTION TO SEVER COUNTS

       The indictment charges defendant with three offenses: (1) being a felon in

possession of a firearm in violation of 18 U.S.C. § 922(g)(1); (2) possessing with intent

to distribute 50 grams or more of methamphetamine (mixture) in violation of 21 U.S.C.

§§ 841(a)(1) and (b)(1)(B); and (3) possession of a firearm in furtherance of a drug

trafficking crime in violation of 18 U.S.C. § 924(c)(1)(A)(i). Docket No. 1 at 1-2.

Defendant moves to sever the three counts and try each offense separately. Docket

No. 28 at 1. Defendant argues that “the jury will be prejudiced by proof of [his]

convicted felon status,” which is necessary to prove Count 1. Id.

       Under Fed. R. Crim. P. 14(a), if the joinder of offenses for trial “appears to

prejudice a defendant,” the court may order separate trials of those counts. Denial of a

motion to sever is within the discretion of the trial court. United States v. Durham, 139

F.3d 1325, 1333 (10th Cir. 1998).

       The Court is not persuaded that trying all three counts together will cause

defendant any prejudice. “[T]rying firearms and drug-trafficking charges together

results in ‘no essential unfairness when the relationship of the charges grew out of the

defendant’s own conduct.’” United States v. Burkley, 513 F.3d 1183, 1188 (10th Cir.

2008) (quoting United States v. Valentine, 706 F.2d 282, 290 (10th Cir. 1983)). In

Burkley, the Tenth Circuit affirmed the district court’s decision not to sever a charge of



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possession with intent to distribute from a charge of carrying a firearm during a drug

trafficking offense. Id. at 1188. These are the same charges that defendant faces in

Counts Two and Three. See Docket No. 1 at 1-2. Similarly, the Tenth Circuit has held

that joinder of a felon-in-possession charge with a “substantive” charge is not prejudicial

where the relationship of the charges “clearly grew out of [defendant’s] own conduct”

and “the prior conviction was not given unnecessary or undue emphasis at trial.” United

States v. Jones, 213 F.3d 1253, 1260-61 (10th Cir. 2000). Here, the g overnment

represents that the “drugs and firearms were all seized from the defendant’s bedroom,

at the same time, and were located in close proximity to each other,” and that “[i]t is the

government’s position that the defendant possessed the firearms as part of his drug

trafficking scheme.” See Docket No. 70 at 9-10. The Court is satisfied that Count One

is sufficiently connected to Counts Two and Three to weigh against severance. Any

potential prejudice to defendant may be cured, as in Jones, by defendant stipulating to

a prior felony conviction in order to “shield[] the jury from the prejudicial details of his

prior activities” and the Court issuing an appropriate limiting instruction to the jury. See

Jones, 213 F.3d at 1260-61.

       Because the offenses are connected, and because the “obviously important

considerations of economy and expedition in judicial administration” weigh against the

Court conducting two or three separate trials in this matter, the Court will deny

defendant’s motion to sever. See United States v. Dirden, 38 F.3d 1131, 1140 (10th

Cir. 1994).




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III.   MOTION TO DISMISS FOR VIOLATION OF SPEEDY TRIAL ACT

        Defendant moves to dismiss the indictment on the basis that he was kept in

custody on a federal arrest warrant for more than thirty days before the government

filed the indictment in this case. Docket No. 42 at 1. Defendant argues that he was

arrested on federal charges on October 28, 2019. Id.

        Pursuant to 18 U.S.C. § 3161(b), an indictment “shall be filed within thirty days

from the date on which such individual was arrested . . . in connection with such

charges.” If no indictment is filed within the time limit required by § 3161(b), the charge

“shall be dismissed or otherwise dropped.” Id. § 3162(a)(1).

        The docket indicates that the indictment in this case was filed on December 5,

2019. Docket No. 1. An arrest warrant for defendant was issued the same day.

Docket No. 3. Defendant was arrested on the warrant on December 9, 2019, Docket

No. 4, and had his initial appearance in front of Magistrate Judge Nina Y. Wang on the

same day. Docket No. 5. While defendant may have been arrested on October 28,

2019, there is no evidence in the record that the arrest was pursuant to a federal arrest

warrant or that he was in federal custody before he was arrested on December 9, 2019.

See, e.g., United States v. Mills, 964 F.2d 1186, 1189-90 (D.C. Cir. 1994) (noting the

“undisputed rule that a state arrest does not trigger the Speedy Trial Act’s clock, even if

the arrest is for conduct that is the basis of a subsequent indictment for a federal

offense” and collecting cases from six other circuits). Thus, the Court finds that no

violation of § 3161(b) has occurred and will deny defendant’s motion.




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IV.   MOTION TO DISCLOSE WITNESSES

       Defendant moves for the Court to order the government to provide defendant

with a list of witnesses the government intends to call at trial. Docket No. 46 at 1.

Defendant cites no legal authority for this request. This Court’s practice standards

require parties to file their witness lists two business days before the trial preparation

conference, which is set for January 31, 2020. See Practice Standards (Criminal

cases), Chief Judge Philip A. Brimmer § IV.A.2. Thus, there is no basis for the Court to

order the government to produce its witness list at this time, and the Court will deny

defendant’s motion. See United States v. Nevels, 490 F.3d 800, 803 (10th Cir. 2007)

(“It is settled law in this circuit that, in the absence of a statutory or constitutional

requirement, there is no requirement that the government disclose its witnesses in any

manner, except in a case where trial is for treason or other capital offense.” (internal

alterations omitted))

V.    MOTION FOR IMMEDIATE RELEASE

       Finally, defendant moves for immediate release from custody, arguing that there

is “no probable cause to try defendant.” Docket No. 63 at 1. Defendant appears to

argue that, because the government “already offered to drop” Count One – presumably

as part of plea negotiations – the government is conceding that it has no probable

cause to try defendant on Count One. Id. However, an offer by the government to

dismiss a count from an indictment as an inducement for a defendant to agree to plead

guilty to other counts is not an admission by the government that it does not have

probable cause to proceed to trial on that count. A g rand jury has already found



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probable cause for Count One. As a result, the Court will deny defendant’s motion for

immediate release.

VI.   CONCLUSION

      For the foregoing reasons, it is

      ORDERED that defendant’s Motion for Bill of Particulars [Docket No. 17] is

DENIED. It is further

      ORDERED that defendant’s Motion to Severe [sic] and Try Offenses Separate

[Docket No. 28] is DENIED. It is further

      ORDERED that defendant’s Motion to Dismiss for Violations of 18 USCS

§ 3161(b), 18 USCS § 3162(a)(1) [Docket No. 42] is DENIED. It is further

      ORDERED that defendant’s Motion for Disclosure of Government’s Intended

Witnesses [Docket No. 46] is DENIED. It is further

      ORDERED that defendant’s Motion for Immediate Release from Custody

[Docket No. 63] is DENIED.


      DATED January 23, 2020.

                                           BY THE COURT:


                                           ____________________________
                                           PHILIP A. BRIMMER
                                           Chief United States District Judge




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